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                    EXHIBIT C
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                                                                          Page 1


                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK

                   CASE NO. 15-CV-07433-RWS


------------------------------------------x
VIRGINIA L. GIUFFRE,


                                Plaintiff,
v.
GHISLAINE MAXWELL,
                                Defendant.


-------------------------------------------x


                                June 21, 2016
                                9:17 a.m.

                   C O N F I D E N T I A L
        Deposition of JOSEPH RECAREY, pursuant
        to notice, taken by Plaintiff, at the
        offices of Boies Schiller & Flexner, 401
        Las Olas Boulevard, Fort Lauderdale, Florida,
        before Kelli Ann Willis, a Registered
        Professional Reporter, Certified Realtime
        Reporter and Notary Public within and
        for the State of Florida.
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                                                                 Page 194
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2                MS. SCHULTZ:      Object to form and
 3          foundation.
 4                THE WITNESS:      And Venero, Christina
 5          Venero.
 6    BY MR. PAGLIUCA:
 7          Q.    Who is an adult as well?
 8                MS. O'CONNOR:      Object to form.
 9                THE WITNESS:      Yes.
10    BY MR. PAGLIUCA:
11          Q.    So out of your entire report, the only two
12    people who ever said anything about Ms. Maxwell were
13    Ms. Sjoberg, who I believe was 23 when you
14    interviewed her?
15          A.    Right, but she was --
16                MS. SCHULTZ:      Object to form and
17          foundation.
18                THE WITNESS:      She was -- she had worked
19          there for quite some time, so you would have to
20          back up, I think, a year or two.
21    BY MR. PAGLIUCA:
22          Q.    She was an adult when she worked there?
23          A.    Right.     She was over the age of 18, right,
24    let's put it that way.
25          Q.    And she was not listed by you as a victim
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                                                                 Page 195
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2    as part of this case, right?
 3          A.    Correct, because it was between two
 4    consenting adults.
 5          Q.    Exactly.
 6                And so that's Ms. Sjoberg, and then the
 7    other individual, I think you said Bolero; is that
 8    right?
 9          A.    Venero, Christina Venero.          She's a --
10          Q.    Adult masseuse, correct?
11          A.    Yes.    I remember she had lots of tattoos.
12          Q.    Tatts, right.
13                But the 17 individuals that you listed in
14    Exhibit 1, none of those individuals ever said the
15    word -- the words "Ghislaine Maxwell" during the
16    course of this investigation to you, correct?
17                MS. SCHULTZ:      Object to form and
18          foundation.
19                THE WITNESS:      I don't believe so.        It
20          would be on the tapes if they did.
21    BY MR. PAGLIUCA:
22          Q.    Well, or it would be in your report,
23    right?
24                MS. SCHULTZ:      Object to form and
25          foundation.
